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AO 199A (Rey. 06/19) Order Setting Conditions of Release Page | of 4 Pages
U.S. DISTRICT COURT
UNITED STATES DISTRICT COURT _ | oistrict oF VERMONT
for the FILED
District of Vermont Ail ({ | 2 5
: . BY
United States of America ) DEPUTY CLERK
)
v. ) Case No. 2:22-cr-59-3

)

Christopher Emmons )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: Vtuliiw  vweiSta—

 

Place

on: LU—|} | ~ LAG. rt

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Band, if ordered.
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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

f" (6) The defendant is placed in the cusiady of:

Person or organization
Address (only if above is an organization)
City and State Tel. No.

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed
Custodian Date
I; (7) The defendant must . oo _. ee .
¥; (a) submit to supervision by and report for supervision to: U.S, Probation Office, District of New Hampshire
55 Pleasant Street
Concord, NH 03361
telephone number 603-225-1515 as directed

I (©) continue or actively seek employment.

E> (©) continue or start an education program.

[= (d) surrender any passportto: U.S. District Court Clerk, District of Vermont

(©) _ not obtain a passport or other international travel document.

fei (f) abide by the following restrictions on personal association, residence, or travel: Travel restricted to NH and to VT for Court
appearances and attorney visits only. All other must be approved in advance by Pretrial Services. Maintain a residence as
approved by Pretrial Services.

iv! (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: government identified witnesses.

7 (h) get medical or psychiatric treatment: take all medications as prescribed.

Tl @) retum to custody each at o’clock after being released at o’clock for employment, schooling,
or the following purposes: .

1: @ maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer
considers necessary.

J¥: (k)  not:possess a firearm, destructive device, or other ‘weapon.

Mj ()  notuse alcohol J; at all T excessively.

¥% (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
licensed medical practitioner.

f: (nm) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used
with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the
efficiency and accuracy of prohibited substance screening or testing.

¥: (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services
office or supervising officer.

T (©) participate in one of the following location restriction programs and comply with its requirements as directed.

[™  @ Curfew. You are restricted to your residence every day Fj from or E- as directed by
pretrial services office or supervising officer, or

[™ (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the pretrial services office or supervising officer, or

T: (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
necessities and court appearances or other activities specifically approved by the court; or

T: (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions.
However, you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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ADDITIONAL CONDITIONS OF RELEASE

submit to the following location monitoring technology and comply with its requirements as directed:

rT i Location monitoring technology as directed by the pretrial services or supervising officer; or

T: (i) Voice Recognition; or

J (iii), Radio Frequency; or

[™ Gv) GPs.

pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or
supervising officer.

report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel,
including arrests, questioning, or traffic stops.

maintain contact with attorney,

once a treatment bed is available, the defendant shall report directly to the approved residential treatment program upon
release. The defendant shall abide by program rules and regulations, execute all release forms, successfully complete the
program, and follow all aftercare instructions and recommendations.

provide the probation officer with a complete and current inventory of the number of media storage devices and electronic
devices capable of internet access used or possessed by the defendant.

not possess child pornography, as defined by 18 U.S.C. § 2256(8); or visual or text content involving minors, which has
sexual, prurient, or violent interests as an inherent purpose.

not associate or have contact, directly or through a third party, with persons under the age of 18, except in the presence of a
responsible adult who is aware of the nature of the defendant’s background, and who has been approved in advance by the
probation officer. Such prohibited conduct shall include the use of electronic communication, telephone, or written
correspondence.

avoid and is prohibited from being in any areas or locations where children are likely to congregate, such as schools, daycare
facilities, playgrounds, theme parks, and arcades unless prior approval has been obtained from the probation office.

allow, at the direction of the probation officer, the installation of monitoring hardware or software to monitor the defendant’s
use of computer systems, media storage devices and internet-capable devices and/or similar electronic devices under the
defendant's control. Upon reasonable suspicion concerning a violation of a condition of pretrial release or unlawful conduct
by the defendant, such items may be removed for the purpose of conducting a more thorough inspection.

not use an internet capable device until an Intemet Use Plan is developed and approved by the Probation Officer.

abide by all previously imposed supervised release conditions.

 

 

 
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ADVISE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and for a
federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive
(i.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with a witness,
victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a witness, victim,
juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a
killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be prosecuted
for failing to appear or surrender and additional punishment may be imposed. Lf you are convicted of:

(1) -an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more—you will be fined not mare
than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years—you will be fined not more than
$250,060 or imprisoned for not more than five years, or both;

(3) any other felony—you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor—you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In addition, a
failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

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Adige) Pen

Defendant's Signature

 

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Directions to the United States Marshal

lM; The defendant is ORDERED released after any necessary processing.

[. The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
posted bond and/or complied with all other conditions of release. If still in custody, the defendant must be produced before the
appropriate judge at the time and place specified. ,

 

pate: Apr | 1, 2023 KG: TDL
- Judicial Offigg?'s Signature

Kevin J. Doyle, U.S. Magistrate Judge
Printed name and title
